Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 1 of 43




              EXHIBIT A
                 Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 2 of 43



                              SUPERIOR COURT OF THE DISTRICT OF
                                   COLUMBIA CNIL DNISION                                    FILED
                                                                                         CIVIL DIVISION
                                    CNIL ACTIONS BRANCH
                                                                                         MAY 2 7 2022
                                                                                      Superior Court of the
                                                                                      District of Columbia

                                                          Case No.:
                                                          Judge:
                                                          Next event:-
                                                                                  20 2 2

                                               COMPLAINT

            Plaintiff James Q. Butler ("Butler"), prose, brings this action pursuant for injunctive

relief against Defendant Georgetown University. In support of his claims, Butler states as

follows:

            1.      Plaintiff James Q. Butler ("Butler") is running for election for Mayor of

Washington D.C. He is on the ballot for the Democratic primary scheduled to proceed on June

21, 2022. Butler, a District of Columbia resident and former lawyer, was 5D03 Advisory

Neighborhood Commissioner. Butler is running on the slogan "people first," vowing to put

residents' priorities over developers, corporations, and other special interests.

            2.      There are only three (3) other candidates on the Democratic ballot: Muriel Bowser

(the current Mayor); Robert White (a current Council member); and Tyron White (currently

Ward 8 Council member).

            3.      Prior to announcing his general campaign primary run on June 24, 2021, Mr.

Butler formed an exploratory committee and accepted contributions for purposes of conducting

p_olling.

            4.      On November 5 2021, Butler emailed Wesley Williams of the Office of
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Campaign Finance asking if it was possible or ifthere was any procedure for him to convert his

campaign from traditional financing to the Fair Elections Program (public financing). Exhibit A.

Mr. Williams replied on November 15, 2021 that because Butler's campaign had used an

exploratory committee and accepted campaign donations, they could not transition to the Fair

Elections Program. Exhibit B.

          5.      Accordingly, Butler is the only Democratic mayoral candidate who has been

unable to use the city's public-financing program.

          6.      On February 23, 202_2, Georgetown University ("GU") announced The

Georgetown University Institute of Politics and Public Service at the McCourt School of Public

Policy (GU Politics) and WTIG FOX 5 DC will host a televised debate for Democratic

candidates for Mayor of the District of Columbia. The event is being co-sponsored by the DC

Democratic Party. GU's announcement stipulated the following criteria for participation in the

debate:

          Any candidate who meets at least one of the following three criteria will qualify and
          tentatively be invited to participate in the debate pending final confirmation they have
          also qualified for the ballot:

          Have been certified as a "participating candidate" in the District's Fair Elections Program
          not later than via the May 10, 2022 Office of Campaign Finance Filing for Fair Elections
          Program participants, OR

          Have secured 1,000 campaign donations as demonstrated in the campaign's May 10,
          2022 Office of Campaign Finance Filing for Traditional Campaign Committees, OR

          Are polling at 3% or greater in an independent public poll sponsored by a media
          organization released between February 1 and May 18, 2022." [Exhibit C.]

          7.      Thereafter, GU invited Muriel Bowser, Robert White, and Tyron White.

However, GU did not invite Butler to participate.

          8.      On the same day of the announcement, Butler reached out via email to GU about



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            Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 4 of 43



the debate, noting his lack of inclusion and desire to participate. Exhibit D.

       9.      GU's representative Christopher Murphy ("Murphy") responded with a link to the

criteria to be included in the debate, and encouraged Butler to reach out again when Butler's

campaign met the criteria. Exhibit E.

       10.     Butler replied seeking clarification as to donor/polling requirements. In his

answer to Butler's request for clarification, Murphy pointed to a poll published by the

Washington Post as "an example of an independent poll sponsored by a media organization,"

emphasizing that it was "not a campaign or private poll." As to campaign donors, Murphy

encouraged Butler to "carefully read the language specifying criterion for candidates who are

choosing to participate in the District's Fair Elections program and a parallel criterion for those

who are not participating." Exhibit F.

       11.     On April 25, 2022, Butler emailed Murphy, noting that his filing deadline as to

donor/polling as a traditional campaign was June 10 rather than May 10, and inquiring how his

campaign can prove their donors. To that end, Butler asked if his campaign could submit

ActBlue account records to verify donors and meet the 1000 donor requirement to participate in

the debate. Exhibit G.

       12.     Murphy replied:

       "Butler - I've consulted with our team. By COB on May 10th we should need to see
       ActBlue records and copies of checks and deposit slips for the 1,000 donors. And just to
       state what I hope was clear, a thousand donations of $1 from the same person (or
       something close to that) will not satisfy the eligibility criteria. Our assumption was that
       the thousand donors are a thousand distinct donors. I am sure we are already on the same
       page but just wanted to clarify to be certain.

       Thanks again for asking the question. It's a good and fair one. I wonder if OCF tweaked
       and clarified their filing deadlines at some point after we rolled out the eligibility
       criteria." [Exhibit H.]

       13.     Butler replied that because ActBlue check deposits run a week behind, the


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campaign would not have everything necessary to prove its donors by May 10, but it did have

spreadsheets from ActBlue containing all the necessary information about the donors. Exhibit I.

       14.    On May 2, 2022, a poll was conducted by the Washington Informer, a Black,

woman-owned multimedia news organization in the District of Columbia. A true and correct

copy of the Washington Informer poll results are as follows Exhibit J:




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  Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 6 of 43




,\'i~ Wa-shington Informer$
V @Washlnformer
p.oL:L - .If the 2022 DC
M:ayoral race was today, who
w_o,uld you vote for?
                                                     41%
l Robert C. WHite Jr                                 '38%
I-trayon
I~,   ...
         Wh.ite Sr                                     5%
l Muri~I Bowser                                       16%
176 votes • Fina I resu Its

2::01 PM ~ 5/2/22 • Twitter for 'iPhone




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          Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 7 of 43



       15.     On May 2, 2022, Butler sent Murphy a link to the poll published by the

Washington Informer, proving that Butler met the 3% polling requirement. Murphy replied that

Twitter or online polls do not meet their "standard of an independent public poll ... conducted by a

pollster." Exhibit K.

       16.     Murphy ignored the fact that GU's announcement specifically stated that the poll

required would be "an independent public poll sponsored by a media organization released

between February 1 and May 18, 2022." GU published no "standard of an independent poll,"

and the Washington Informer Poll clearly complied with the requirement of a poll independent

from' any particular candidate. Accordingly, the Washington Informer poll complied with GU's

published requirements.

       17.     On May 7, 2022, Butler emailed Murphy asking if the form his campaign was

using to verify cash donors (many of whom gave around $1.00) was adequate to meet the

requirement, and stated that the forms would be given to the OCF. Exhibit L.

       18.     Murphy replied asking if the forms are signed/filled out in person by real people.

Butler responded, inter alia, that: the forms were filled out by the donors and would be filed with

OCF; the campaign does not have the donors sign as that was not part of OCF guidelines; the

campaign's form requests exactly what ActBlue requested, and was in accord with OCF cash

contribution guidelines as well. Exhibit M.

       19.     On May 9, 2022, Butler emailed Murphy again, noting that his campaign's filing

deadline was not the same as public finance candidates, and requested an extension of time until

May 18. Exhibit N.

       20.     Murphy replied: "Hey Butler - I think on this one it's pretty clear we can't say

yes. We can't be moving the goal posts this late in the game to help or hurt any specific



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candidate. I'msony." Exhibit 0.

       21.     Butler replied: "Thanks Chris ... but is [sic] seems the rules were created without

factoring in the dates of traditional candidates-only the ones taking public financing. So if

anyone was hurt by this it's us ... not them-everyone else already qualifies!" Exhibit P.

       22.     Murphy replied that Butler's assertion was untrue, and that there was a "clear

path" for traditional financing candidates to qualify, and stated:

       "The only thing that ended up slightly different from what we said when we announced
       the criteria originally was that we thought there was a May 10th OCF filing deadline for
       traditional candidates - as there was for public financed candidates. And you and I
       worked out a reasonable accommodation for that wrinkle." [Exhibit Q.]

       23.     Butler replied that the only other poll was very dated and didn't include him,

although arguably he would fall under the "none of these" category. [Exhibit R.]

       24.     On May 10, 2022, Butler emailed Murphy again about the issue of the public poll.

[Exhibit S.]

       25.     Murphy responded:

       "Butler - I shared our position earlier. It has not changed. We are not in a position to
       favor or disfavor any candidates. We set forth impartial eligibility criteria months ago.
       We cannot change them now. We made a modest tweak to the form of meeting the May
       10 eligibility deadline - because of prior confusion around the various OCF filing
       deadlines - that has no meaningful impact on the outcome of who qualifies. We cannot
       make a significant rule change for one candidate at the last minute. I'm sony this was not
       the answer you are hoping for. I do hope you can understand." [Exhibit T.]

       26.     Butler replied requesting that GU rely on the ActBlue records for the donor count,

and/or push the due date to somewhere between May 10 and June 10, or to be considered in the

"none of these" category of the Washington Post poll. Exhibit U.

       27.     Murphy's final reply reemphasized that they are unwilling to change their

position. Exhibit V.




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                                COUNT I- INJUNCTIVE RELIEF

        28.    Paragraphs 1-27 are incorporated by reference herein as if set forth in their

entirety.

        29.    As more fully set forth in Plaintiff's Petition for Temporary Restraining Order or

Preliminary Injunction and accompanying points and authorities, there is a high likelihood of

success on the merits. Plaintiff has a real probability of succeeding on his claim because

Defendant has partnered with local television station Fox5. Plaintiff has been excluded from the

June 1, 2022 Fox 5 broadcast. By analogy, pursuant to 47 CFR 73.1941: "if any licensee shall

permit any such candidate to use its facilities, it shall afford equal opportunities to all other

candidates for that office to use such facilities." Mr. Butler is a "qualified candidate" pursuant to

47 CFR 73.1940(b)(l), as he is one offour (4) candidates who has "qualified for a place on the

ballot." The same standard must be placed on GU, who has stepped into the public political arena

and arranged the broadcast of this unfair debate. Mr. Butler must under the law be afforded an

equal opportunity to speak.

        30.    As more fully set forth in Plaintiff's Motion for Temporary Restraining Order or

Preliminary Injunction and accompanying points and authorities, if Plaintiffs barred from the

debate, the plaintiff will suffer injury that is of such a character that a fair and proper redress may

not be achievable in a court. The Mayoral election in the District of Columbia is held, like in

most places, every four years. Many voters learn of who is on the ballot from various mediums

but in particular a large number of voters learn via television. If voters do not see Plaintiff in the

only one of two televised debates - they may conclude his candidacy is not relevant, he

suspended his campaign, or even that he has not made the ballot causing plaintiff to lose an

undetermined amount of votes and no amount of compensatory relief could make plaintiff whole.



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       31.     The balance of convenience favors Plaintiff because there is simply no

inconvenience to the Defendant by putting a fourth podium on the stage, as opposed to Butler's

loss of this key opportunity to engage in the hotly contested Mayoral Race

       32.     Injunctive relief in the form of a temporary restraining order, preliminary

injunction, and permanent injunction is in the public interest. An order allowing Butler to

participate in the debate serves the public interest because it allows certain marginalized

populations in DC to know and understand that there is a candidate that represents their interests.

Butler's campaign platform has been heavily focused on marginalized populations predominantly

those east of the river. All three of Butler's opponents are career politicians and could arguably

be said to be part of the establishment. Butler is the only one running on the Democratic ticket

that is not part the establishment and gives many marginalized voters an option. Granting

preliminary relief and allowing Butler to participate in the debate serves that interests.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court enter a Temporary

Restraining Order, Preliminary Injunction, and/or Permanent Injunction against Defendant

Thomas ordering that an injunction compelling Defendant Georgetown University to permit

Plaintiff to participate in the debate to be held for the Democratic Mayoral Primary at

Georgetown University on June 1, 2022
                        Case 1:22-cv-01517
                                     SuperiorDocument   1-1District
                                              Court of the   Filed 05/30/22  Page 11 of 43
                                                                    of Columbia
                                                            CIVIL DIVISION
                                                           Civil Actions Branch
                                      500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                           Telephone: (202) 879-1133 Website: www.dccourts.gov


                                                                          Plaintiff                                                                       2354
                                         VS.                                                                                   20 2 2
                                                                                                                   Case Number

                                                                         Defendant

                                                                        SUMMONS
 To the above named Defendant:

         You are hereby summoned and required to serve an Answer to the attached Complaint, either
 personally or through an attorney, within twenty one (21) days after service of this summons upon you,
 exclusive of the day of service. If you arc being sued as an officer or agency of the United States Government
 or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
 Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
 attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
 to the plaintiff at the address stated on this Summons.

        You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:d0 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court eithei' before you· serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served th~ plaintiff. If you fail to file an Answer, -
judgment by default may be entered against you for the r~_li_ct~-d~ma!,ld~_cl;;:in::tl~:---~omplaint.

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Name ofi½amttffs Attorney
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  IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER. YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO. A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL.PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE .JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

   If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                       See reverse side for Spanish translation
                                                        Vea al dorso la traducci6n al espai'iol
                              Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 12 of 43

                                          TRJBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                                    DIVISION CIVIL
                                                              Seccion de Acciones Civiles
                                             500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                   Tclcfono: (202) 879-1133 Sitio web: www.dccourts.gov




                                                                   Demandante
                                          contra
                                                                                                      N(unero de Caso:

                                                                   Demand ado

                                                                   CITATORIO
       Al susodicho Demandado:
                Por la presente se le cita a comparecer y se le require entregar una Contestaci6n a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintiun (21) dias contados despues que usted haya recibido este
       citatorio, excluyendo el dia mismo de la entrega de! citatorio. Si usted esta siendo de1'nandado en.- calidad de oficial o
       agente de! Gobiemo de los Estados Unidos de Norteamerica o del Gobierno de! Disfrito. de Columbia, tiene usted
       sesenta (60) dias, contados despues que usted haya recibido este citato1io, para entregar su Contestaci6n. Tiene que
       cnviarle por correo una copia de su Contestaci6n al abogado de la parte demandante. El nombre y direcci6n de!
       abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Contestaci6n por correo a la direcci6n que aparece en este Citatorio.

               A usted tambien se le require presentar la Contestaci6n original al Tribunal en la Oficina 5000, sito en 500
                                                                                    a
       Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de Junes viemes o entre las 9:00 a.m. y las 12:00 de! mediodia
       los sabados. Usted puede presentar la Contestaci6n original arite el Juez ya sea antes que usted le entregue al
       demandante una copia de la Co\1testaci6n o en el plazo de siete (7) dbs de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestaci6n, podria dictarse un folio en rebeldia contra usted para que se haga
       efectivo el desagravio que se busca en la .demand_a. ·-
                                                                                          SECRETARJO DEL TRIBUNAL
      Nombre del abogado del DemandanJe

                                                                                  Por:
      Direcci6n                                                                                                  Subsecretario


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      MENCIONADO o,:,s1 LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRfA
      DICTARSE UN FALLO EN REBELDiA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
      DESAGRA VIO QUE SE BUSQUE EN LA DEMAN DA. SI ESTO OCURRE, PODRiA RETENERSELE SUS INGRESOS, 0
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      USTED PRETENDE OPONERSE A ESTA ACCION, NO Dt.JE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
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         Si desea conversar con un abogado y le parcce quc no pucde pagarlc a uno. llamc pronto a una de nucstras oficinas de! Legal Aid
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      Indiana Avenue, N.W., para informarse sobre otros lugares dondc puede pedirayuda al respecto.

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                    SUPERIOR COURT OFTIIE DISTRICT OF COLUMBIA
                                   CIVIL DIVISION
                               CIVIL ACTIONS BRANCH


  JA1\1ES Q. BUTLER, et al.,

                                    Plaintiff,
                                                       Case No.:
  v.                                                   Judge:
                                                       Next event:
  GEORGETOWN UNIVERSITY, eta!.,

                                   Defendants.




             STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF
          PLAINTIFF'S APPLICATION FOR TEMPORARY RESTRAINING ORDER
            AND PLAINTIFF 'S MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff James Q. Butler moves for a temporary restraining order and a preliminary

injunction compelling Defendant Georgetown University to permit Plaintiff to participate in the

debate to be held for the Democratic Mayoral Primary at Georgetown University on June 1, 2022.

Injunctive relief is warranted under the applicable four-factor test. The specific grounds for the ·

requested relief are as follows:


                                       FACTUAL BACKGROUND

       Plaintiff James Q. Butler ("Butler") is mnning for election for Mayor of Washington D.C. He

is on the ballot for the Democratic primary scheduled to proceed on June 21, 2022. Butler, a District

of C_olumbia resident and former lawyer, was 5D03 Advisory Neighborhood Commissioner. Butler

is mnning on the slogan "people first," vowing to put residents' priorities over developers,

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current Mayor); Robert White (a current Council member); and Tyron White (currently Ward 8


                                                   1
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Council member).

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an exploratory committee and accepted contributions for purposes of conducting polling.

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asking if it was possible or if there was any procedure for him to convert his campaign from

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replied on November 15, 2021 that because Butler's campaign had used an exploratory committee

and accepted campaign donations, they could not transition to the Fair Elections Program. Exhibit B.

       Accordingly, Butler is the only Democratic mayoral candidate who has been unable to use

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       Have secured 1,000 campaign donations as demonstrated in the campaign's May 10, 2022
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       Are polling at 3% or greater in an independent public poll sponsored by a media organization
       released between February 1 and May 18, 2022." [Exhibit C.]

        Thereafter, GU invited Muriel Bowser, Robert White, and Tyron White. However, GU did

not invite Butler to participate.

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        On the same day of the announcement, Butler reached out via email to GU about the debate,

noting his lack of inclusion and desire to participate. Exhibit D.

        GU's representative Christopher Murphy ("Murphy") responded with a link to the criteria to

be included in the debate, and encouraged Butler to reach out again when Butler's campaign met the

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        Butler replied seeking clarification as to donor/polling requirements. In his answer to

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        "Butler - I've consulted with our team. By COB on May 10th we should need to see ActBlue
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        Thanks again for asking the question. It's a good and fair one. I wonder if OCF tweaked and
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        [Exhibit H.]

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ActBlue containing all the necessary information about the donors. Exhibit I.
                                                    3
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       On May 2, 2022, a poll was conducted by the Washington Informer, a Black, wom~n-owned

multimedia news organization in the District of Columbia. A true and correct copy of the

Washington Informer poll results are as follows Exhibit J:




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                                  Twee~

,\'I~ Washington Informer •                                        0 ...




V @Washlnformer
POLL - If the 2022 DC
Mayoral race was today, who
would you vote for?

                                                            41%
l Robert C. WHite Jr
I              _ _ _i          .                            38%
I'   ·,             .    '    "
                                                              . 0/
i Trayon White Sr
'·-~'
                                                             5. 10
I Muri~I Bows,er                                            16%
176 votes • Final results

 2:·01 PM · 5/2/22 • Twitter for iPhone:



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       On May 2, 2022, Butler sent Murphy a link to the poll published by the Washington

Informer, proving that Butler met the 3% polling requirement. Murphy replied that Twitter or online

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       Murphy ignored the fact that GU's announcement specifically stated that the poll required

would be "an independent public poll sponsored by a media organization released between February

1 and May 18, 2022." GU published no "standard ofan independent poll," and the Washington

Informer Poll clearly complied with the requirement of a poll independent from any particular

candidate. Accordingly, the Washington Informer poll complied with GU's published requirements.

       On May 7, 2022, Butler emailed Murphy asking if the form his campaign was using to verify

cash donors (many of whom gave around $1.00) was adequate to meet the requirement, and stated

that the forms would be given to the OCF. Exhibit L.

       Murphy replied asking if the forms are signed/filled out in person by real people. Butler

responded, inter alia, that: the forms were filled out by the donors and would be filed with OCF; the

campaign does not have the donors sign as that was not part of OCF guidelines; the campaign's form

requests exactly what ActBlue requested, and was in accord with OCF cash contribution guidelines

as well. Exhibit M.

       On May 9, 2022, Butler emailed Murphy again, noting that his campaign's filing deadline

was not the same as public finance candidates, and requested an extension of time until May 18.

ExhibitN.

       Murphy replied: "Hey Butler - I think on this one it's pretty clear we can't say yes. We can't

be moving the goal posts this late in the game to help or hurt any specific candidate. I'm sorry."

Exhibit 0.

       Butler replied: "Thanks Chris ... but is [sic] seems the rules were created without factoring

in the dates of traditional candidates- only the ones taking public financing. So if anyone was hurt

                                                   6
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by this it's us ... not them-everyone else already qualifies!" Exhibit P.

          Murphy replied that Butler's assertion was untrue, and that there was a "clear path" for

traditional financing candidates to qualify, and stated:

          "The only thing that ended up slightly different from what we said when we announced the
          criteria originally was that we thought there was a May 10th OCF filing deadline for
          traditional candidates - as there was for public financed candidates. And you and I worked
          out a reasonable accommodation for that wrinkle." [Exhibit Q.]

          Butler replied that the only other poll was very dated and didn't include him, although

arguably he would fall under the "none of these" category. [Exhibit R.]

          On May 10, 2022, Butler emailed Murphy again about the issue of the public poll. [Exhibit

S.]

          Murphy responded:

          "Butler - I shared our position earlier. It has not changed. We are not in a position to favoror
          disfavor any candidates. We set forth impartial eligibility criteria months ago. We cannot
          change them now. We made a modest tweak to the form of meeting the May 10 eligibility
          deadline - because of prior confusion around the various OCF filing deadlines - that has no
          meaningful impact on the outcome of who qualifies. We cannot make a significant rule
          change for one candidate at the last minute. I'm sorry this was not the answer you are hoping
          for. I do hope you can understand." [Exhibit T.]

          Butler replied requesting that GU rely on the ActBlue records for the donor count, and/or

push the due date to somewhere between May 10 and June 10, or to be considered in the "none of

these" category of the Washington Post poll. Exhibit U.

          Murphy's final reply reemphasized that they are unwilling to change their position. Exhibit

V.




     1 This   statement of facts is drawn from the affidavit of James Q. Butler, attached as Exhibit A.


                                                       7
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                                             ARGUMENT

            Preliminary injunctive relief is warranted where Plaintiff can clearly demonstrate:

  (1) that he has a substantial likelihood of success on the merits; (2) that the Plaintiff will be in

  danger of suffering irreparable injury if injunctive relief is denied; (3) that more harm will result

  to the Plaintiff from denial of the injunction than will result to the Defendants if such relief is

  granted; and, in appropriate cases, (4) that injunctive relief would further the public interest. See

  In re Estate ofReilly, 933 A.2d 830, 834 (D.C. 2007) (quoting Feaster v. Vance, 832 A.2d 1277,

  1287 (D.C. 2003)). These factors interrelate on a "sliding scale" and must be balanced against

  each other. See Salvaterro v. Ramirez, No. 14-FM-1006, slip op. at 3 (D.C. Dec. 15, 2014)

  (quoting Serono Labs., Inc. v. Shala/a, 158 F.3d 1313, 1318 (D.C. Cir. 1998)). "If the arguments

  for one factor are particularly strong, an injunction may issue even if the arguments in other

  areas are rather weak." Serono Labs., 158 F.3d at 1318 (quoting CityFed Fin. Corp. v. Office of

  Thrift Supervision, 58 F.3d 738, 746, 313 U.S. App. D.C. 178 (D.C. Cir. 1995)).

       Here, all factors are strongly in favor of Butler.

       I.       BUTLER HAS A SUBSTANTIAL LIKELffiOOD OF SUCCESS ON
                        THE MERITS OF HIS CLAIM.

       Plaintiff can show that he has a real probability of success on the merits. We ask this court

to consider whether the complaint has raised questions going to the merits that are substantial as to

make them fair grounds for litigation and a more thorough investigation. Plaintiff should be granted

injunctive relief because the complaint raises serious and substantial questions about the legality of

defendants requirements to participate in such a debate.

       Plaintiff has a real probability of succeeding on his claim because Defendant has partnered

with local television station Fox5.

       Mr. Butler has been excluded from the June 1, 2022 Fox 5 broadcast, and Mr. Butler has

                                                    8
             Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 21 of 43



requested that Fox 5 and Defendant afford him an equal opportunity pursuant to 47 CFR 73.1941,

that states: "if any licensee shall permit any such candidate to use its facilities, it shall afford equal

opportunities to all other candidates for that office to use such facilities."

       The regulation further states at subsection (e):

       Discrimination between candidates. In making time available to candidates for
       public office, no licensee shall make any discrimination between candidates in
       practices, regulations, facilities, or services for or in connection with the service
       rendered pursuant to this part, or make or give any preference to any candidate for
       public office or subject any such candidate to any prejudice or disadvantage; nor
       shall any licensee make any contract or other agreement which shall have the effect
       of permitting any legally qualified candidate for any public office to broadcast to
       the exclusion of other legally qualified candidates for the same public office.
       [Emphasis added.]


       Mr. Butler is a "qualified candidate" pursuant to 4 7 CFR 73. l 940(b)(I), as he is one of four

(4) candidates who has "qualified fora place on the ballot."

       Mr. Butler must under the law be afforded an equal opportunity to speak.

       II.     BUTLER WILL BE IRREPARABLY INJURED.

       In the absence of injunctive relief, the plaintiff will suffer injury that is of such a character

that a fair and proper redress may not be achievable in a court. The Mayoral election in the District

of Columbia is held, like in most places, every four years. Many voters learn of who is on the ballot

from various mediums but in particular a large number of voters learn via television. If voters do

not see Plaintiff in the only one of two televised debates - they may conclude his candidacy is not

relevant, he suspended his campaign, or even that he has not made the ballot.

       This, of course, will cause plaintiff to lose an undetermined amount of votes and no amount

of compensatory relief could make plaintiff whole. Once the race is over, it's over. Even if plaintiff

was able to run his own TV ads, this still does not allow the voters to see how the plaintiff compares

side-by-side with his opponents, in a live televised debate.


                                                     9
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       III.     THE BALANCE OF EQUITIES FAVORS MR. BUTLER.

          The equities to the parties must be balanced, and the Court must consider whether more

  harm will result to the Plaintiff from denial of the injunction than will result to the defendants if

  such relief is granted. See In re Estate of Reilly, 933 A.2d at 834. The balance of convenience

  favors Plaintiff because there is simply no inconvenience to the Defendant by putting a fourth

  podium on the stage, as opposed to Butler's loss of this key opportunity to engage in the hotly

  contested Mayoral Race

       IV.      THE PUBLIC FAVORS THE RELIEF REQUESTED.

       An order allowing Mr. Butler to participate in the debate serves the public interest because

it allows certain marginalized populations in DC to know and understand that there is a candidate

that represents their interests. Mr. Butler's campaign platform has been heavily focused on

marginalized populations predominantly those east of the river.

       All three of Mr. Butler's opponents are career politicians and could arguably be said to be

part of the establishment. Mr. Butler is the only one running on the Democratic ticket that is not

part the establishment and gives many marginalized voters an option. Granting preliminary relief

and allowing Mr. Butler to participate in the debate serves that interests.


                                            CONCLUSION

       For the reasons set forth herein, Plaintiff James Q. Butler respectfully requests that

temporary restraining order and a preliminary injunction compelling Defendant Georgetown

University to permit Plaintiff to participate in the debate to be held for the Democratic Mayoral

Primary at Georgetown University on June 1, 2022.


  ORAL HEARING REQUESTED                                 Respectfully submitted:

                                                                 Isl
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                                 James Q. Butler, prose



                            11




                           11
         Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 24 of 43



                                   CERTIFICATE OF SERVICE

       I hereby certify that on this [] day of[], a copy of the foregoing Statement of Points and

Authorities in Support of Plaintiff' Application for Temporary Restraining Order and Motion for

Preliminary Injunction was filed and served via [] on the following parties:

                              []

                              []

       Personal service of the aforementioned document was attempted as of the same date at

the same addresses, and will be pursued until confirmation ofreceipt in some form is obtained.



                                                                    Isl
                                                             []




                                               12
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           EXHIBIT A




                           13
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                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                CIVIL DIVISION
                            CIVIL ACTIONS BRANCH


JAMES Q. BUTLER, et al.,

                              Plaintiff,
                                                   Case No.:
V.                                                 Judge:
                                                   Next event:
GEORGETOWN UNIVERSITY, eta!.,




              APPLICATION FOR TEMPORARY RESTRAINING ORDER

       Plaintiff, James Q. Butler,pro se, and pursuant to Super. Ct. Civ. R. 65(b), applies fora

temporary restraining order to immediately compel Defendant to permit Plaintiff to participate

in the debate to be held for the Democratic Mayoral Primary at Georgetown University on June

1, 2022. The specific grounds for this application are set forth in the accompanying statement of

points and authorities. A proposed order is filed herewith.

       Per Super. Ct. Civ. R. 12-I (a), Plaintiff has repeatedly asked Defendants to grant the

requested relief. Defend ants has consistently refused or ignored the requests.

ORAL HEARING REQUESTED
         Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 27 of 43




                                                         *,
                                 CERTIFICATE OF SERVICE

       I hereby certify that on this   itday of (Ill ~    2022, a copy of the foregoing

Plaintiff' Application for Temporary Restraining Order and Statement of Points and Authorities

in support thereof were filed and served via CaseFileXpress, and served via hand-delivery, on

the following parties:



       Personal service of the aforementioned documents was attempted as of the same date at

the same addresses, and will be pursued until confirmation ofreceipt in some form is obtained.
         Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 28 of 43



                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                CIVIL DIVISION
                            CIVIL ACTIONS BRANCH


JAMES Q. BUTLER,etal.,

                               Plaintiff,
                                                     Case No.:
V.                                                   Judge:
                                                     Next event:
GEORGETOWN UNIVERSITY, etal.,




                             TEMPORARY RESTRAINING ORDER

       The Court has considered Plaintiff James Q. Butler's Application for a Temporary

Restraining Order ("Application"), Plaintiff's Statement of Points and Authorities in support

thereof, any opposition thereto, and the applicable law.

       For the reasons set forth in Plaintiff's Statement of Points and Authorities, the Court

believes that the Plaintiff will likely succeed on the merits of his claims. The Court further

believes that the Plaintiff will suffer an irreparable injury in the absence of a Temporary

Restraining Order, and that the harm to the Plaintiff in the absence of a Temporary Restraining

Order outweighs the harm to the Defendants by the injunctive relief requested. Finally, the

public interest is not implicated in this case such as to affect the Court's conclusions.

       Accordingly, this _ _day of _ _ _ _ _~ 2022, at _ _ _a.m./p.m., it is hereby

       ORDERED that Plaintiff's Application for a Temporary Restraining Order is

GRANTED. It is further

       ORDERED that Defendant Georgetown University shall permit Plaintiff James Q. Butler

to participate in the debate to be held for the Democratic Mayoral Primary at Georgetown

University on June 1, 2022
         Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 29 of 43



prohibited from [].




                                   Judge, Superior Court for the District of Columbia
Copy:
         Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 30 of 43



                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                CIVIL DIVISION
                            CIVIL ACTIONS BRANCH


JAMES Q. BUTLER,etal.,

                              Plaintiff,
                                                   Case No.:
V.                                                 Judge:
                                                   Next event:
GEORGETOWN UNIVERSITY, eta!.,




                       MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff James Q. Butler, pro se, pursuant to Super. Ct. Civ. R. 65(a), moves for a

preliminary injunction to compel Defendant to permit Plaintiff to participate in the a debate

would be held for the Democratic Mayoral Primary on June 1, 2022. The specific grounds for

this motion are set forth in the accompanying statement of points and authorities. A proposed

order is attached.

       Per Super. Ct. Civ. R. 12-I(a), Plaintiff has repeatedly asked Defendants to grant the

requested relief. Defendants have consistently refused or ignored the requests.

ORAL HEARING REQUESTED                               Respectfully submitted:

                                                             Isl
                                                     James Q. Butler
                                                     Plaintiff
        Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 31 of 43



                                CERTIFICATE OF SERVICE

       I hereby certify that on this [], a copy of the foregoing Plaintiff's Motion for Preliminary

Injunction and Statement of Points and Authorities in support thereof were filed and served


       Personal service of the aforementioned documents was attempted as of the same date at

the same addresses, and will be pursued until confinnation of receipt in some form is obtained.




                                                                   /s/
                                                             James Q. Butler
           Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 32 of 43



                   SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                  CIVIL DIVISION
                              CIVIL ACTIONS BRANCH


JAMES Q. BUTLER, et al.,

                                Plaintiff,
                                                     Case No.:
V.                                                   Judge:
                                                     Next event:
GEORGETOWN UNIVERSITY, eta!.,




           ORDER ON PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION

          The Court has considered Plaintiff' January 15, 2015 Motion for Preliminary Injunction

("Motion"), Plaintiff' Statement of Points and Authorities in support thereof, any opposition

thereto, and the applicable law.

          For the reasons set forth in Plaintiff' Statement of Points and Authorities, the Court

believes that the Plaintiff is likely to succeed on the merits of his claims. The Court further

believes that the Plaintiff will suffer an irreparable injury in the absence of a Preliminary

Injunction, and that the harm to the Plaintiff in the absence of a Preliminary Injunction

outweighs the harm to the Defendants by the injunctive relief requested. Finally, the public

interest is not implicated in this case such as to affect the Court's conclusions.

          Accordingly, this _ _day of _ _ _ _ _~ 2022, at _ _ _a.m./p.m., it is hereby

          ORDERED that Plaintiff' Motion for a Preliminary Injunction is GRANTED. It is

further

          ORDERED that Defendants permit Plaintiff to participctte in the a debate would be held.

for the Democratic Mayoral Primary on June 1, 2022
        Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 33 of 43



[]



                                  Judge
                                  Superior Court of the District of Columbia

Copy:
             Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 34 of 43



                     SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                    CIVIL DIVISION
                                CIVIL ACTIONS BRANCH


  JAMES Q. BUTLER, et al.,

                                  Plaintiffs,
                                                        Case No.:
  V.                                                    Judge:
                                                        Next event:
  GEORGETOWN UNIVERSITY,etal.,

                                  Defendants.



                                AFFIDAVIT OF JAMES O. BUTLER

            I, James Q. Butler, upon personal knowledge, state as follows:

       1.        I am running for election for Mayor of Washington D.C, and am on the ballot for

the Democratic primary scheduled to proceed on June 21, 2022. I am a District of Columbia

resident and former lawyer, as well as the former 5D03 Advisory Neighborhood Commissioner. I

am running on the slogan "people first," vowing to put residents' priorities over developers,

corporations, and other special interests.

       2.        There are only three (3) other candidates on the Democratic ballot: Muriel Bowser

(the current Mayor); Robert White (a current Council member); and Tyron White (currently Ward

8 Council member).

       3.        Prior to announcing my general campaign primary run on June 24, 2021, I formed

an exploratory committee and accepted contributions for purposes of conducting polling.

       4.        On November 5 2021, I emailed Wesley Williams of the Office of Campaign

Finance asking if it was possible or if there was any procedure for me to convert my campaign

from traditional financing to the Fair Elections Program (public financing). Exhibit A. Mr.

Williams replied on November 15, 2021 that because my campaign had used an exploratory


                                                    1
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committee and accepted campaign donations, we could not transition to the Fair Elections

Program. Exhibit B.

       5.       Accordingly, I am the only Democratic mayoral candidate who has been unable to

make use of the city's public-financing program.

       6.       On February 23, 2022, Georgetown University ("GU") announced that The

Georgetown University Institute of Politics and Public Service at the Mccourt School of Public

Policy (GU Politics) and WTIG FOX 5 DC will host a televised debate for Democratic candidates

for Mayor of the District of Columbia. The event is being co-sponsored by the DC Democratic

Party. GU's announcement stipulated the following criteria for participation in the debate:

       Any candidate who meets at least one of the following three criteria will qualify and
       tentatively be invited to participate in the debate pending final confirmation they have also
       qualified for the ballot:

       Have been certified as a "participating candidate" in the District's Fair Elections Program
       not later than via the May 10, 2022 Office of Campaign Finance Filing for Fair Elections
       Program participants, OR

       Have secured 1,000 campaign donations as demonstrated in the campaign's May 10, 2022
       Office of Campaign Finance Filing for Traditional Campaign Committees, OR

       Are polling at 3% or greater in an independent public poll sponsored by a media
       organization released between February 1 and May 18, 2022." [Exhibit C.]

        7.      Thereafter, GU invited Muriel Bowser, Robert White, and Tyron White. However,

GU did not invite me to participate.

        8.      On the same day of the announcement, I reached out via email to GU about the

debate, noting my lack of inclusion and desire to participate. Exhibit D.

        9.      GU's representative Christopher Murphy ("Murphy") responded with a link to the

criteria to be included in the debate, and encouraged me to reach out again when my campaign met

the criteria. Exhibit E.

        10.     I replied to Murphy seeking clarification as to donor/polling requirements. In his

                                                   2
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answer to my request for clarification, Murphy pointed to a poll published by the Washington Post

as "an example of an independent poll sponsored by a media organization," emphasizing that it

was "not a campaign or private poll." As to campaign donors, Murphy encouraged me to "carefully

read the language specifying criterion for candidates who are choosing to participate in the

District's Fair Elections program and a parallel criterion for those who are not participating."

Exhibit F.

       11.      On April 25, 2022, I emailed Murphy, noting that my filing deadline as to

donor/polling as a traditional campaign was June 10 rather than May 10, and inquiring how my

campaign can prove our donors. To that end, I asked if my campaign could submit ActBlue

account records to verify our donors and meet the 1000 donor requirement to participate in the

debate. Exhibit G.

        12.     Murphy replied:

       "Butler - I've consulted with our team. By COB on May 10th we should need to see ActBlue
       records and copies of checks and deposit slips for the 1,000 donors. And just to state what I
       hope was clear, a thousand donations of $1 from the same person (or something close to
       that) will not satisfy the eligibility criteria. Our assumption was that the thousand donors are
       a thousand distinct donors. I am sure we are already on the same page but just wanted to
       clarify to be certain.

       Thanks again for asking the question. It's a good and fair one. I wonder if OCF tweaked and
       clarified their filing deadlines at some point after we rolled out the eligibility criteria."
       [Exhibit H.]

        13.     I replied that because ActBlue check deposits run a week behind, my campaign

would not have everything necessary to prove our donors by May 10, but that we did have

spreadsheets from ActBlue containing all the necessary information about the donors. Exhibit I.

        14.     On May 2, 2022, a poll was conducted by the Washington Informer, a Black,

woman-owned multimedia news organization in the District of Columbia. A true and correct copy

of the Washington Informer poll results are as follows Exhibit J:


                                                   3
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                                 CIVIL DIVISION- CIVIL ACTIONS BRANCH
                                                INFORMATION SHEET                             20 2 2                      2354
                                                                Case Number:
                                                                                  ----,--------------
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                                                                Date: _5_,,_/_,,____,_!A1:J-.....+-J____,,Jo"--"--<:J-1=
                                                                              I                 I
Geov1r2tawJ                                                     D One of the defendants is being sued
                                                                    in their official capacity.
Name: (Please Print)    ~                                                         Relationship to Lawsuit
                                               - ll    le/                             D     Attorney for Plaintiff
Firm Name:
                                                                                       ~ ( P r o Se)
Telephone No.:                 Six digit Unified Bar No.:
                                                                                       D     Other: - - - - - - - -

TYPE OF CASE:                                   D     6 Person Jury               □, 12 Person Jury
Demand:     $___________ _                                                Othcr:-'T"j c/ CA.-C-fz ~~

PENDING CASE(S) RELATED TO THE ACTION BEING FILED
Case No.: _ _ _ _ _ _ _ _ __  Judge: _ _ _ _ _ _ __                                   Calendar#: _ _ _ _ _ _ _ _ __


Case No.:                                    Judge: _ _ _ _ _ _ _ __                   Calendar#:
            ----------                                                                              ----------

NATURE OF SUIT:              ( Check One Box 011M

A. CONTRACTS                                          COLLECTION CASES

 D    01   Breach of Contract           D   1-t Under S25.000 Pltf. Grants Consent D         16 Under S25.000 Consent Denied
 D    02   Breach of Warranty           D    17 OVER $25,000 Pltf. Grants Consent D          18 OVER $25,000 Consent Denied
 D    06   Negotiable Instrument        D   27 Insurance/Subrogation               D         26 Insurance/Subrogation
 D    07   Personal Property                    Over S25,000 Pltf. Grants Consent              Over S25,000 Consent Denied
 D    13   Employment Discrimination    D   07 Insurance/Subrogation               D         34 Insurance/Subrogation
 D    15   Special Education Fees               Under S25.000 Pltf. Grants Consent              Under S25,000 Consent Denied
                                        D   28-Motion to Confirm Arbitration
                                                Award (Collection Cases Onlv)

B. PROPERTY TORTS

  D   01 Automobile                   D 03 Destruction of Private Property             D    05 Trespass
  D   02 Conversion                   D 04 Property Damage
  D   07 Shoplifting. D.C. Code~ 27-102 (a)


C. PERSONAL TORTS

  D   01 Abuse of Process               D    10 Invasion of Privacy                             D 17 Personal Injury- (Not Automobile,
  D   02 Alienation of Affection        0    11 Libel and Slander                                     Not Malpractice)
  D   03 Assault and Battery            D    12 Malicious Interference                          D 18\Vrongful Death (Not Malpractice)
  D   04 Automobile- Personal Injury    D    13 Malicious Prosecution                           D 19 Wrongful Eviction
  D   05 Deceit (Misreprcs·cntation)    D    14 Malpractice Legal                               D 20 Friendly Suit
  D   06 FaJse Accusation               D   15 MalprJcticc- McJical, (Including Wrongful Ueath) 021 Asbestos
  D   07 False Arrest                   D    16 Negligence- (Not Automobile.                    D 22 ToxiciMass Torts
  D   08 Fraud                                  Not Malpractice)                                023 Tobacco
                                                                                        n         24 Lead Paint
                                       SEE REVERSE SIDE AND CHECK HERE                  IF USED_



CV-496/Junc 2015
              Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 38 of 43


                           Information ~She.et,:.C.ontinued

C.OTHERS
      D
   OJ•Accounting                           D    17 Merit Personnel-Act (OEA)
   02 Att. Before.Judgment
      D                                        (D.C. Code Title 1, Chapter 6)
D 05"Ejectrnent                            0    18 Product Liability
0-09Special Writ/Warrants
    (DC Code§ 11-941)                      D    24 Application to-Confirm, Modify,
D 10· Traffic Adjudication                       Vacate Arbitration Award -(DC Code§ 16-4401)
D 11 Writ of Replevin                      D    29 Merit Personnel Act (OHR)
D 12-Enforce Mechanics-Lien                D    31 Housing Code Regulations
~ 6 Declaratory Judgment                   D    32 Qui Tarn
                                           0     33 Whistleblower



II.
      D·oJ,Change of Name                   D 15 Libel oflnforrnation                 D   21 Petition for Subpoena
      D-06-Foreign Judgment/Domestic D 19 Enter Administrative Order as                       [Rule 28-1 (b)]
      D 08 Foreign Judgment/International          Judgment [ D.C. Code §             D   22 Release Mechanics Lien
      D 13 Correction of Birth-Certificate         2-1802.03 (h) or 32-151 9 (a)]     D   23 Rule 27(a)( I)
      D 14 Correction of Marriage           D 20 Master Meter (D.C. Code§                  (Perpetuate Testimony)
            Certificate                             42-3301, et.seq.)                 D   24 Petition-for·Structured Settlement
      0: 26 Petition for Civil Asset Forfeiture (Vehicle)                             D   25 Petition.for Liquidation
      D 27 Petition for Civil Asset Forfeiture (Currency)
      D 28 Petition for Civil' Asset Forfeiture (Other)


D. REJ\L PROPERTY

      D 09 Real Property-Real Estate               D   08 Quiet Title
      D 12 Specific-Performance                    D   25 Liens: Tax/ Water Consent Granted
      □ :04 Condemnation (Eminent Domain)          D   30 Liens: Tax/- Water Consent Denied
      □- 10 Mortgage Foreclosure/Judicial Sale D       31. Tax Lien Bid-Off Certificate Consent Granted
      D-1·1 Petition for Civil-Asset Forfeiture (RP)




CV-496/ Jun~    2015
                 Case 1:22-cv-01517 Document 1-1 Filed 05/30/22 Page 39 of 43
                          SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                           [     CIVIL DIVISION Civil Actions Branch
                           500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                            : Telephone: (202) 879-1133 • Website: www.dccourts.gov



JAMES Q BUTLER
  Vs.                                                             C.A.No.          2022 CA 002354 B
GEORGETOWN UNIVERSITY

                                     INITIAL ORDER AND ADDENDUM

          Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure
                         ("Super. Ct. Civ. R.") 40-1, it is hereby ORDERED as follows:

     (1) This case is assigned to the judge and calendar designated below. All future filings in this case shall
bear the calendar number and the judge's name beneath the case number in the caption.
     (1) Within 60 days of the filing of the complaint, plaintiff must file proof of service on each defendant of
copies of (a) the summons, (b) the complaint, and (c) this Initial Order and Addendum. The court will dismiss
the claims against any defendant for whom such proof of service has not been filed by this deadline, unless the
court extended the time for service under Rule 4(m).
     (3) Within 21 days of service (unless otherwise provided in Rule 12), each defendant must respond to the
complaint by filing an answer or other responsive pleading. The court may enter a default and a default
judgment against any defendant who does not meet this deadline, unless the court extended the deadline
under Rule SS(a).
     (4) At the time stated below, all counsel and unrepresented parties shall participate in a remote hearing to
establish a schedule and discuss the possibilities of settlement. Counsel shall discuss with their clients before the
hearing whether the clients are agreeable to binding or non-binding arbitration. This order is the only notice
that parties and counsel will receive concerning this hearing.
     (5) If the date or time is inconvenient for any party or counsel, the Civil Actions Branch may continue the
Conference once, with the consent of all parties, to either of the two succeeding Fridays. To reschedule the
hearing, a party or lawyer may call the Branch at (202) 879-1133. Any such request must be made at least seven
business days before the scheduled date.
No other continuance of the conference will be granted except upon motion for good cause shown.
     (6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge's Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court's website http://www.dccomts.gov/.




                                                              Chief Judge Anita M. Josey-Herring

Case Assigned to: Judge HEIDI M PASICHOW
Date:         May 27, 2022
Initial Conference: REMOTE HEARING - DO NOT COME TO COURTHOUSE
SEE REMOTE HEARING INSTRUCTIONS ATTACHED TO INITIAL ORDER

9:30 am, Friday, September 16, 2022
Location: Courtroom 516
          500 Indiana Avenue N.W.
          WASHINGTON, DC 20001
                                                                                                CAIO-60
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                              ADDENDUM TO INITIAL ORDER AFFECTING
                                ALL MEDICAL MALPRACTICE CASES

              D.C. Code§ 16-2821, which part of the Medical Malpractice Proceedings Act of 2006, provides,               "[a]fter
action is filed in the court against a healthcare provider alleging medical malpractice, the court shall require the parties to
enter into mediation, without discovery or, if all parties agree[,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference ('ISSC'"), prior to any further
litigation in an effort to reach a settlement agreement. The early mediation schedule shall be included in the Scheduling
Order following the ISSC. Unless all parties agree, the stay of discovery shall not be more than 30 days after the ISSC."

         To ensure compliance with this legislation, on or before the date of the ISSC, the Court will notify all attorneys
and pro se parties of the date and time of the early mediation session and the name of the assigned mediator. Information
about the early mediation date also is available over the internet at https://www:dccourts.gov/pa/. To facilitate this process,
all counsel and pro se parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the ISSC.
D.C. Code§ 16-2825 Two separate Early Mediation Forms are available.                   Both forms may be obtained at
www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a mediator from the multi-door
medical malpractice mediator roster; the second form is to be used for early mediation with a private mediator. Plaintiffs
counsel is responsible for eFiling the form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov.
Unrepresented plaintiffs who elect not to eFile must either mail the form to the Multi-Door Dispute Resolution Office at,
Suite 2900, 410 E Street, N.W., Washington, DC 20001, or deliver ifin person if the Office is open for in-person visits.

          A roster of medical malpractice mediators available through the Court's Multi-Door Dispute Resolution Division,
with biographical information about each mediator, can be found at www.dccourts.gov/medmalmediation/mediatorprofiles.
All individuals on the roster are judges or lawyers with at least 10 years of significant experience in medical malpractice
litigation. D.C. Code§ 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one. D.C. Code§ 16-
2823(b).

          The following people are required by D.C. Code § 16-2824 to attend personally the Early Mediation Conference:
(1) all parties; (2) for parties that are not individuals, a representative with settlement authority; (3) in cases involving an
insurance company, a representative of the company with settlement authority; and (4) attorneys representing each party
with primary responsibility for the case.

          No later than ten (10) days after the early mediation session has terminated, Plaintiff must eFile with the Court a
report prepared by the mediator, including a private mediator, regarding: (1) attendance; (2) whether a settlement was
reached; or, (3) if a settlement was not reached, any agreements to narrow the scope of the dispute, limit discovery,
facilitate future settlement, hold another mediation session, or otherwise reduce the cost and time of trial preparation.
D.C. Code§ 16-2826. Any Plaintiff who is unrepresented may mail the form to the Civil Actions Branch at [address] or
deliver it in person if the Branch is open for in-person visits. The forms to be used for early mediation reports are available
at www.dccourts.gov/medmalmediation.



                                                                          Chief Judge Anita M. Josey-Herring




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                                    Civil Remote Hearing Instructions for Participants



      The following instructions are for participants who are scheduled to have cases heard before a Civil Judge
      in a Remote Courtroom



           Qpt!on'l;   (AUDIO ONLY/Dial-in   by Phone):

     Toll 1 (844) 992-4762 or (202} 860-2110, enter the Meeting ID from the attachment followed by
     #, press again to enter session.

             •     Please call in no sooner than 5 minutes before your scheduled hearing time. Once you have joined
                   the session, please place your phone on mute until directed otherwise. If you should happen to get
                   disconnected from the call, please call back in using the phone number and access number
                   provided and the courtroom clerk will mute your call until the appropriate time.

     If you select Option 2 or Option 3 use the Audio Alternative


~~(LAPTOP/DESKTOP USERS 1):

                 Open Web Browser in Google Chrome and copy and paste following address from the next page:
                 https ://dccou rts. webex.co m/ meet/XXXXXXXXX



Q ~ (LAPTOP/ DESKTOP USERS 2):
            Open Web Browser in Google Chrome and copy and paste following address
            https://dccourts.webex.com Select Join, enter the Meeting ID from the next page



     AUDIO ALTERNATIVE: Instead of automatically using USE COMPUTER FOR AUDIO, select CALL-
     IN and follow the CALL-IN prompt window. Use a cell phone or desk phone. You will be heard
     clearer if you do not place your phone on SPEAKER. It is very important that you
     enter the ACCESS ID# so that your audio is matched with your video.


QijtioR~~; (lpad/SMART PHONE/TABLET):


             •          Go to App Store, Download WebEx App (Cisco WebEx Meetings)
             •          Sign into the App with your Name and Email Address
             •          Select Join Meeting
             •          Enter address from the next page: https://dccourts.webex.com/meet/XXXXXXXXX
             •          Click join and make sure your microphone is muted and your video is unmuted (if you need to be
             •          seen). If you only need to speak and do not need to be seen, use the audio only option.
             •          When you are ready click "Join Meeting". If the host has not yet started the meeting, you will be
                        placed in the lobby until the meeting begins.

                         For Technical Questions or issues Call: (202) 879-1928, Option #2




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                                         Superior Court of the District of Columbia
                                         Public Access for Remote Court Hearings
                                                (Effective August 24, 2020)

  The current telephone numbers for all remote hearings are: 202-860-2110 (local) or 844-992-4726 (toll
  free). After dialing the number, enter the WebEx Meeting ID as shown below for the courtroom. Please click
  a WebEx Direct URL link below to join the hearing online.

           Audio and video recording; taking pictures of remote hearings; and sharing the live or recorded remote
           hearing by rebroadcasting, live-streaming or otherwise are not allowed

tivision   Courtroom       Types of Hearings                               Public Access via WebEx
                             Scheduled in
                                                   WebEx Direct URL                                     WebEx
                              Courtroom
                                                                                                        Meeting ID
uditor     206          Auditor Master             httgs:LLdccourts.webex.comLmeetLctbaudmaster         129 648 5606
laster                  Hearings
           100          Civil 2 Scheduling         httgs:LLdccourts.webex.comLmeetLctbl00               129 846 4145
                        Conferences; Status,
                        Motion and Evidentiary
                        Hearings including
vii                     Bench Trials
           205          Foreclosure Matters        httgs:LLdccourts.webex.comLmeetLctb205               129 814 7399

           212          Civil 2 Scheduling         httgs:{ldccourts.webex.comLmeetLctb212               129 440 9070
                        Conferences; Status,
                        Motion and Evidentiary
                        Hearings including
                        Bench Trials
           214          Title 47 Tax Liens; and    httgs:LLdccourts.webex.comLmeetLctb214               129 942 2620
                        Foreclosure Hearings
           219          Civil 2 Scheduling         httgs:LLdccourts.webex.comLmeetLctb219               129 315 2924
                        Conferences; Status,
                        Motion and Evidentiary
                        Hearings including
                        Bench Trials
           221          Civil 1 Scheduling         httgs :LLdccou rts. webex.comLmeetL ctb221           129 493 5162
                        Conferences; Status,
                        Motion and Evidentiary
                        Hearings including
                        Bench Trials
           318          Civil 2 Scheduling         httgs:LLdccourts.webex.comLmeetLctb318               129 801 7169
                        Conferences; Status,
           320          Motion and Evidentiary     httgs:LLdccourts.webex.comLmeetLctb320               129 226 9879
                        Hearings including
                        Bench Trials




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400     Judge in Chambers         httgs:LLdccourts.webex.comLmeetLctb400          129 339 7379
        Matters including
        Temporary Restraining
        Orders, Preliminary                                   :
        Injunctions and Name
        Changes
415     Civil 2 Scheduling        httgs:LLdccourts. webex.comLmeetL ctb415        129 314 3475
516     Conferences; Status,      httgs:LLdccourts.webex.comLmeetLctb516          129 776 4396
        Motion and Evidentiary
517                               httgs:LLdccou rts. webex.comLmeetL ctbS 17      129 9116415
        Hearings including
        Bench Trials
518                               httgs:LLdccourts.webex.comLmeetLctb518          129 685 3445

519                               httgs:LLdccourts.webex.comLmeetLctb519          129 705 0412

JM-4                              httgs:LLdccourts.webex.comLmeetLctbjm4          129 797 7557



A-47    Housing Conditions        httgs:LLdccourts.webex.comLmeetLctba47          129 906 2065
        Matters
B-52    Debt Collection and       httgs:LLdccourts.webex.comLmeetLctbbS2          129 793 4102
        Landlord and Tenant
        Trials
B-53    Landlord and Tenant       httgs:LLdccou rts. webex.comLmeetL ctbb53       129 913 3728
        Matters including Lease
        Violation Hearings and
        Post Judgment Motions
B-109   Landlord and Tenant       httgs:LLdccourts.webex.comLmeetLctbb109         129 127 9276
        Matters
B-119   Small Claims Hearings     httgs:LLdccourts.webex.comLmeetLctbb119         129 230 4882
        and Trials




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